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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          8:10CR396
                                            )
             Plaintiff,                     )
                                            )          ORDER
v.                                          )
                                            )
ARMANDO PEREZ-LOPEZ,                        )
                                            )
             Defendant.                     )



      UPON THE MOTION OF THE DEFENDANT, (#66) and no objection from the
government,

      IT IS ORDERED:

      1. The Motion for Continue the Change of Plea Hearing (#66) is granted.

      2. The Change of Plea hearing is continued to March 4, 2011 at 2:00 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       3. For this defendant, the time between February 16, 2011 and the hearing on
the anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      4. No further continuances will be granted, absent unusual circumstances.

       5. Since this is a criminal case, the defendant must be present, unless excused
by the Court.

      DATED this 17tht day of February, 2011.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
